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 UNITED STATES DISTRICT COURT, ARRONDISSEMENTSRECHTBANK VAN DE
                         VERENIGDE STATEN

                     NOORDELIJK DISTRICT VAN CALIFORNIË

                              AFDELING SAN FRANCISCO

BETREFT: KATHODESTRAALBUIS
(CATHODE RAY TUBE, CRT)                  )   Zaak nr. CV-07-5944-SC
ANTITRUST-PROCESVOERING                  )
                                         )   MDL (multidistrict litigation, procesvoering in
                                         )   meerdere districten) nr. 1917
                                         )
                                         )   VERZOEKSCHRIFT
Dit document heeft betrekking op:        )   (ROGATOIRE COMMISSIE)
                                         )
ALLE ACTIES                              )


                  VERZOEK OM INTERNATIONALE RECHTSHULP
                        CONFORM VERZOEKSCHRIFT



                                    REDACTED VERSION
